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             Attorney for Plaintiff-Intervenor, EL CAMINO ATHLETIC BOOSTERS CLUB, a California
         6   non-profit corporation
         7
         8
                                      UNITED STATES DISTRICT COURT
         9
                                      EASTERN DISTRICT OF CALIFORNIA
        10
        11 VIDEO GAMING TECHNOLOGIES, INC.,               ) Case No. 2:08-CV-01241 JAM EFB
           dba, VGT, Inc., a Tennessee Corporation;       )
        12
           UNITED CEREBRAL PALSY OF GREATER               ) STIPULATION AND ORDER RE
        13 SACRAMENTO, a California Non-Profit            ) DISMISSAL OF ACTION
           Corporation; WIND Youth Services, a            )
        14 California Non-Profit Corporation; ROBERT      )
           FOSS, an individual; JOAN SEBASTIANI, an       )
        15 individual,                                    )
        16                                                )
                               Plaintiffs,                )
        17                                                )
             V.                                           )
        18                                                )
           BUREAU OF GAMBLING CONTROL, a law              )
        19 enforcement division of the California         )
        20 Department of Justice; MATHEW J.               )
           CAMPOY, in his official capacity as the        )
        21 Acting Chief of the Bureau of Gambling         )
           Control,                                       )
        22                                                )
                                Defendants,               )
        23
           ____________________________________           )
        24                                                )
           AND RELATED INTERVENORS                        )
        25 ____________________________________           )
        26
                   Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), IT IS HEREBY
        27
             STIPULATED, by and between Plaintiff-Intervenors EL CAMINO ATHLETIC BOOSTERS
        28

                                                          -1-
                      STIPULATION AND [PROPOSED] ORDER RE DISMISSAL OF ACTION
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         1   CLUB, CAPITAL BINGO, INC., HAGGIN GRANT POST NO. 21, THE AMERICAN
         2   LEGION OF CALIFORNIA, CASA ROBLE HIGH SCHOOL RAMSMEN, INC., and MARY
         3   BROWN, Plaintiffs UNITED CEREBRAL PALSY OF GREATER SACRAMENTO, WIND
         4   YOUTH SERVICES and ROBERT FOSS, and Defendants BUREAU OF GAMBLING
         5   CONTROL, JACOB APPELSMITH, MATHEW J. CAMPOY and JOHN McGINNESS, by
         6   and through their respective counsel of record, that the entire above-captioned action is
         7   dismissed with prejudice in accordance with the terms of the written settlement
         8   agreement entered into between the parties.
         9          IT IS FURTHER STIPULATED that the parties shall bear their own attorney’s fees
        10   and costs incurred in this action.
        11
        12          IT IS HEREBY SO AGREED.

        13
        14   Dated: February 22, 2010                 LAW OFFICES OF K. GREG PETERSON

        15
                                                      By:     /s/ K. Greg Peterson
        16                                                    K. Greg Peterson, Esq., attorney for
        17                                            Plaintiff-Intervenor, EL CAMINO ATHLETIC
                                                      BOOSTERS CLUB, a California non-profit
        18                                            corporation

        19
             Dated: February 22, 2010                 NOSSAMAN, LLP
        20
        21
                                                      By:     /s/ George Joseph, Esq.
        22                                                    George Joseph, Esq., attorney for
                                                      Plaintiff-Intervenors CAPITAL BINGO, INC.,
        23                                            HAGGIN GRANT POST NO. 21, THE
                                                      AMERICAN LEGION OF CALIFORNIA, CASA
        24
                                                      ROBLE HIGH SCHOOL RAMSMEN, INC., and
        25                                            MARY BROWN and Plaintiffs UNITED
                                                      CEREBRAL PALSY OF GREATER
        26                                            SACRAMENTO, WIND YOUTH SERVICES and
                                                      ROBERT FOSS
        27
        28   ///


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                      STIPULATION AND [PROPOSED] ORDER RE DISMISSAL OF ACTION
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         1   Dated: February 22, 2010          SACRAMENTO COUNTY-OFFICE OF
                                               COUNTY COUNSEL
         2
         3
         4                                     By:   /s/ John E. Reed, Esq.
                                                     John E. Reed, Esq., attorney for
         5                                     Defendant, Sacramento County Sheriff, JOHN
                                               MCGINNESS
         6
         7                                     Edmund G. Brown, Jr.
                                               Attorney General of the State of California
         8                                     Sara J. Drake
                                               Acting Senior Assistant Attorney General
         9                                     Jennifer T. Henderson
                                               Deputy Attorney General
        10
        11
        12   Dated: February 22, 2010    By: ____/s/ William L. Williams, Jr.
                                                      William L. Williams, Jr.
        13                                            Deputy Attorney General
        14                                     Attorneys for Defendants, BUREAU OF
                                               GAMBLING CONTROL, JACOB APPELSMITH
        15                                     and MATHEW J. CAMPOY

        16         IT IS HEREBY SO ORDERED.
        17
        18
        19   Date: February 22, 2010           /s/ John A. Mendez_______
                                               Hon. John A. Mendez
        20                                     United States District Court
                                               Eastern District of California
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                      STIPULATION AND [PROPOSED] ORDER RE DISMISSAL OF ACTION
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